Case 1:01-cv-12257-PBS Document 6195-6 Filed 06/26/09 Page 1 of 6

TAB 5
Ciarelli, Gregg - 30(b)(6)

New York, NY

Case 1:01-cv-12257-PBS Document 6195-6 Filed 06/26/09 Page 2 of 6

July 25, 2007

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

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THE COMMONWEALTH OF MASSACHUSETTS, ) CIVIL ACTION NO.
Plaintiff, ) 03-CV-11865-PBS
)
vs )
) VIDEOTAPED
MYLAN LABORATORIES, INC.; BARR ) DEPOSITION OF
LABORATORIES, INC.; DURAMED ) GREGG CIARELLI
PHARMACEUTICALS, INC.; IVAX ) 30 (b) (6)
CORPORATION; WARRICK )
PHARMACEUTICALS CORPORATION; ) New York,
WATSON PHARMACEUTICALS, INC.; ) New York
SCHEIN PHARMACEUTICAL, INC.; TEVA ) July 25, 2007
PHARMACEUTICALS USA, INC.; PAR )
PHARMACEUTICAL, INC.; DEY, INC.; )
ETHEX CORPORATION; PUREPAC )
PHARMACEUTICAL CO.; and ROXANE ) Reported By:
LABORATORIES, INC., ) CATHI IRISH,
Defendants. ) RPR, CLVS
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Case 1:01-cv-12257-PBS Document 6195-6 Filed 06/26/09 Page 3 of 6

Ciarelli, Gregg - 30(b)(6)

July 25, 2007

New York, NY

9 (Pages 30 to 33)

30 32
1 A. No. 1 ‘the contracting department.
2 Q. And when did -- when did you first have 2 Q. And was that the department that Mr.
3 -- take the position as described in the 3 Powers was in charge of?
4 — organizational chart? 4 A. Yes.
5 A. November of 1997. 5 Q. Can you just describe generally what
6 Q. Okay. So from November 1997, at least 6 Mr. Powers' duties and responsibilities were as
7? through the date of this org chart, which is 7 the head of the contract department? ;
8 shown as March of 2004, your position -- 8 A. Working with the sales and marketing
9 A. No. 9 teams to do contracts, bids, awards, getting all
10 Q. How long did you hold the position? 10 the data properly into our systems and processes.
11 A. Until sometime in the year 2000. 11 Q. And in that role, was Mr. Powers'
12 Q. Okay. Allright. In your position, 12 responsibility limited with regard to Roxane
13 1990 -- November of 1997 until 2000 when it 13 Laboratories only to the branded drugs?
14 changed, what responsibilities did you have for 14 A. No, he had responsibility for branded
15 pricing? 15 and generic.
16 A. I was the administrator of getting the 16 Q. Were his responsibilities with regard
17 prices into the systems and processes, and then 17 to the generic drugs the same as his
18 working with the contracts group to get the 18 responsibilities for the branded drugs?
19 prices within the systems and as normal course of |19 A. Yes.
20 business practice. 20 Q. In the job title as shown in the org
21 Q. So you had some responsibility for -- 21 chart I just showed you, it also refers to
22 for -- strike that. 22 marketing. What were your duties and
31 33
1 What responsibility did you have for 1 responsibilities with regard to marketing?
2 _ setting up the systems for maintaining prices? 2 A. Iwas the marketing, controlling, so
3 A. I didn't have any responsibility for 3 basically the financial budgeting, forecasting,
4 the systems. 4 analysis on the marketing.
5 Q. So what did your responsibility entail? 5 Q. Did the -- did the staff who were
6 A. The processes for getting prices 6 responsible for marketing the Roxane branded
7 approved. 7 drugs report to someone other than yourself?
8 Q. In that position, did you have any 8 A. Yes, they did.
9 other people other than Mr. Powers reporting to 9 Q. And who did they report to?
10 you? LO A. Gary Ellexson.
11 A. Yes. ‘11 Q. And do you know what his -- what Mr.
12 Q. Okay, who else? I don't need the 12  Ellexson's title was?
13 names, at least at this point. Can you just give 13 A. I believe it was executive director of
14 me the functions of the people who worked for 24 marketing.
15 you? 5 Q. Was there a separate function for
16 A. Yes, I had a controller reporting to 16 marketing the branded drugs for Roxane
17 me, forecasting manager, contracting manager, and {17 —_ Laboratories from the group that marketed the
18 I believe that was it. 18 multi-source drugs?
19 Q. In the position that you held from 19 A. Yes.
20 November of 1997 through 2000, what were your 20 Q. Who headed up the marketing department
21 _ responsibilities for contracts? 21 ‘for the branded drugs; was that Mr. Ellexson?
22 A. Thad the functional responsibility for 22 A. Yes.

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202-220-4158
Case 1:01-cv-12257-PBS Document 6195-6 Filed 06/26/09 Page 4 of 6

Ciarelli, Gregg - 30(b)(6)

July 25, 2007

New York, NY

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10 (Pages 34 to 37)
34 36
1 Q. And did he also have any responsibility 1 us, and ask if you can identify that for the
2 for the generic drugs? 2 record.
3 A. No, he did not. 3 A. Yes, it's a note to Miss Terri Factora
4 Q. Now, I think you said that your 4 at First DataBank listing the WAC and AWP prices
5 position changed in 2000. 5 for Roxicodone products.
6 A. Yes, 6 Q. Is Roxicodone one of the branded
7 Q. And approximately when in 2000, do you 7 products belonging to Roxane Laboratories?
8 know? 8 A. I believe so, yes.
9 A. Right around the turn of the year. 9 Q. Okay. I'm going to have to share this
10 Q. So at the end of 2000? 10 with you, actually, but -- :
1 A. The end of -- no, the beginning of 11 MS. WITT: I've got some copies. :
n2 2000. 12 MR. HEIDLAGE: Actually, let's take a :
13 Q. How did it change? 13 minute and it will be helpful to have a couple
4 A. I gave up the controlling 14 copies, yes.
5 responsibilities, the financial responsibilities. 15 THE VIDEOGRAPHER: The time is 10:12
1 6 Q. So you retained responsibility for the 16 am. We're going off the record.
17 contracting department? 17 (Recess taken.)
1 8 A. Yes. 18 THE VIDEOGRAPHER: The time is 10:29
i. 9 Q. And for -- so you no longer had the 19 a.m. We're back on the record.
20 marketing financial responsibilities, correct? 20 BY MR. HEIDLAGE:
21 A. Yes. 21 Q. Mr. Ciarelli, before we broke to have
22 Q. So does Mr. Powers still report to you? 22 photocopies made, I'd placed before you what was
35 37 iF
1 A. Yes. 1 Exhibit Waterer 079. But before we go into that,
2 Q. And are his duties and responsibilities 2 just for the record and to make certain we are
3 the same as they were in 1997? 3 clear, at the point at which you began testifying
4 A. Yes. 4 with regard to the price reporting of Roxane
5 Q. From 1997 through the time period in 5 Laboratories branded drugs, you would be
6 which the Roxane Laboratories branded drugs were | 6 __ testifying -- it's my understanding you would be
7 actually transferred to BIPI, did -- did Mr. 7 ~~ testifying on behalf of Roxane Laboratories, and
8 Powers have any responsibility for reporting 8 just to confirm; is that correct?
9 prices to the price reporting services for the 9 A. Yes.
10 multi-source drugs? 10 MR. HEIDLAGE: Are we agreed?
11 A. Yes, he did. 1 MS. WITT: Yes.
12 Q. So he was reporting for both multi- 12 BY MR.HEIDLAGE:
13 source and branded drugs? 13 Q. Mr. Ciarelli, I think you testified
14 A. Correct. 14 that Mr. Powers, who works for you, was
15 Q. Do you know if there's anyone who 15 responsible for reporting the prices that are
46 reported to him that also assisted in that 16 published in the price reporting compendia; is
17 function? 17 that correct?
18 A. I don't recall. 18 MS. WITT: Can I hear that question
19 Q. I'm going to show you a document which 19 back? Is that term in the present tense?
20 was previously marked as Exhibit Waterer 079, and 20 MR. HEIDLAGE: Good point. Let me go
21 we don't have a copy of that because the 21 back. Is there a difference?
22 originals are not -- those originals are not with 22 BY MR. HEIDLAGE:

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202-220-4158
Case 1:01-cv-12257-PBS Document 6195-6 Filed 06/26/09 Page 5 of 6

Ciarelli, Gregg - 30(b)(6)

July 25, 2007

New York, NY

25 (Pages 94 to 97)
94 96 |
1 Q. And the someone in marketing during 1 Q. Okay. And what competitive prices ;
2 this time period, do you know who that would have | 2 would be reviewed by Roxane to determine -- of |};
3 been? 3 the competitors would be reviewed by Roxane to |i
4 A. It would have been the product manager 4 determine its AWP? |
5 for Roxicodone, but I don't know -- I don't 5 A. Their AWPs and the AWPs of those
6 remember who in particular was the product 6 competing products. :
7 manager at the time. 7 Q. So at least one of the considerations
8 Q. So if we wanted to know how the WAC -- 8 that Roxane would have gone through to set its ;
9 - strike that. 9  AWP during the September of 2000 time period
10 If we wanted to know how the AWP was 10 would be the AWPs as reported and published by
L1 set for Roxicodone, how would we determine that? [11 the competitors -- competitors to the product; is }
12 Let me step back for a second. 12 that correct? :
13 First of all, do you know how the AWP 13 MS. WITT: Object to the form of the
14 was set for Roxicodone in or about September of [14 question and beyond the scope of the deposition :
15 2000? 15 notice. 1
16 A. No, I don't. 6 THE WITNESS: Yes, for these products, |!
‘17 Q. Ifwe wanted to find out how the AWP 17 for these particular products, and again, they
18 was determined for Roxicodone during this time 18 had generic competition. If they did not have ,
19 period, what would we need to do? 19 competition, it would be the formula that we :
20 A. Talk to the people who would have been 20 spoke about earlier.
21 involved in that process. 21 BY MR. HEIDLAGE:
22 Q. And it is your understanding that there 22 Q. But given the fact that the AWP of this
95 97 |
1 would be documentation of that process, at least 1 -- these drugs is not in accordance with the
2 one element of which would be an e-mail to the 2 standard markup, then this would lead you to
3 pricing committee, presumably making a 3 believe and understand that the AWP was set with
4 recommendation as to a variance or a different 4 the alternative procedure, correct?
5 AWP for this product; is that correct? 5 A. Correct.
6 A. Yes. 6 MS. WITT: Object to the form.
7 Q. And what are the considerations that 7 BY MR. HEIDLAGE:
8 would be taken into account with regard to 8 Q. And that alternative procedure that
9 setting the AWP for a drug such as Roxicodone 9 Roxane used was to review the AWPs as published
10 during this time period? 10 by the competitive products?
11 A. The competitive marketplace. 11 A. Correct.
12 Q. And what elements in the competitive 12 Q. Did Roxane have any general practice
23 marketplace would Roxane have considered and 123 and procedure for determining how its published
14 reviewed during this time period? 14 AWP would relate to the AWPs of the other
15 A. What the competitive drugs' pricing 1S competitors in the marketplace for drugs such as
16 would have been during those times. And that 16 Roxicodone that had generic competition?
17 would consist of -- in this case, these products 17 MS. WITT: Object to the form of the :
18 are generics, so there would be multiple 18 question. :
19 manufacturers of these individual products and/or {19 THE WITNESS: None that I'm aware of. :
20 strengths of products that could be used in 20 BY MR. HEIDLAGE: :
21 multiples to come up with the same milligrams as j21 Q. Do you know how Roxane set its WAC for f
22 these products. 22 Roxicodone during this time period? :

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202-220-4158
Case 1:01-cv-12257-PBS Document 6195-6 Filed 06/26/09 Page 6 of 6

Ciarelli, Gregg - 30(b)(6)

July 25, 2007

New York, NY

26 (Pages 98 to 101)
98 100 :
1 A. It would have been again based on 1 Q. And also discounts to managed care? ;
2 competitive products. 2 A. Managed care, federal government, they
3 Q. When you say competitive products, what 3 would take the form of a rebate, so they would go
4 — would Roxane review to determine the WAC that it j 4 to the -- in that case Medicaid would go to the
5 established for its Roxicodone? 5 federal government as a check, not a discount.
6 A. We'd look at -- it would look at the 6 The wholesaler would not see that discount.
7 competition in the market and the other 7 Q. Okay.
8 alternative products that could be used, whether 8 A. And to the managed care organization,
9 they be direct competitors, oxycodone based, or 9 _ based on dispensing of the drug, a check would be
10 other products that are different molecules that [10 made to the managed care organization.
11 have the same type of palliative effect. 11 (Exhibit Ciarelli 004, document
12 And the marketing teams would -- 12  ~Bates stamped RLI-TX 67336 through 338, marked
123 actually, their responsibilities would be to come 13 for identification, as of this date.)
14 up with their recommendation on what the WAC |14 BY MR. HEIDLAGE:
25 price should be, based on, you know, looking at = [15 Q. Mr. Ciarelli, what I've placed before
16 the market and general business practices. 16 you and marked as Exhibit Ciarelli 004 is a
17 Q. So given the fact that the standard -- 17 document with Bates numbers RLI-TX 67336 through
18 — strike that. 18 67338, and ask you if that's a document that you
19 Were the considerations that Roxane 19 have ever seen before.
20 took into account in setting its WAC price for 20 A. Not this particular one, no.
21 the Roxicodone were the prices that you reviewed, [21 Q. Have you seen documents like that?
22 the published prices of the competitors’ 22 A. I don't recall seeing this particular
99 101
1 products? 1 type of document, no. :
2 A. Yes. 2 Q. On the first page, there is a listing :
3 Q. Anything else? 3 of people with the heading Internal Distribution :
4 A. No. 4 List. Can you determine from that listing which
5 Q. Just so I understand, in Exhibit 5 company these people worked for?
6  Waterer 079, which is the -- the document that 6 A. I believe Ed Gunn worked for Roxane.
7 had the initial launch of the Roxicodone, what 7 Craig Russell worked for Roxane. I don't know
8 was the function -- or strike that. 8 Lewis. I don't know Querry, Jefferis. Jerry
9 What relationship, if any, did the AWP 9 Hart worked for Roxane. Mark Shaffer worked for
10 have to the prices that Roxane actually charged 10 Roxane. Fred Duy worked for Roxane. Richard
11 to its customers? 11 Feldman worked for Roxane. Bob Sykora, Roxane.
12 A. AWP had no bearing on what Roxane 12 John Powers, Roxane. Michael Schobelock for
13 __ charged its customers. The customers were 13 Roxane. Beth Trowbridge worked for Roxane. Dr.
14 charged based on WAC or a discount off of WAC. |14 Shepard worked for BIPI. Kathy Hirst, BIPI. Kim
15 Q. And the discount off WAC that you're 15 Griffin, BIPI. Mike Kavanaugh, BIPI. Gary
16 talking about was either the 2 percent prompt pay 16 Nichols, BIPI. And the other folks appear to be
17 discount, the initial stocking discount that 17 people that would be involved in the launch
18 ~~ we've seen? 18 meeting.
49 A. Right. 19 Q. What were the functions -- so is this a
20 Q. Discounts in hospital contracts, I 20 launch document?
21 think you said? 21 A. It's a field force communication that's
22 A. Yes. dated September -- there is no date on here. I

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